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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                                    )
    In re:                                                          )    Chapter 11
                                                                    )
    DURA AUTOMOTIVE SYSTEMS, LLC, et al.,1                          )    Case No. 19-12378 (KBO)
                                                                    )
                                       Debtors.                     )    (Jointly Administered)
                                                                    )


       SECOND AMENDED2 NOTICE OF AGENDA OF MATTERS SCHEDULED FOR
               HEARING ON FEBRUARY 13, 2020 AT 1:30 P.M. (ET)3

      I.        ADJOURNED MATTER

1.           2004 Motion (Dura Debtors). Motion of the Official Committee of Unsecured Creditors
             for an Order Under Bankruptcy Rule 2004 and Local Bankruptcy Rule 2004-1 Directing
             the Production of Documents by the Debtors [Filing Date: 12/13/19; Docket No. 414].

                   Response Deadline:          December 19, 2019 at 12:00 p.m. (ET), extended as to the
                                               Debtors only until December 19, 2019 at 4:00 p.m. (ET).

                   Responses Received:

                             A.       Statement of the Zohar Debtors Regarding Motion of the Official
                                      Committee of Unsecured Creditors for an Order Under Bankruptcy
                                      Rule 2004 and Local Bankruptcy Rule 2004-1 Directing the
                                      Production of Documents by the Debtors] [Filing Date: 12/18/19;
                                      Docket No. 444].

                             B.       Debtors’ Objection to the Motion of the Official Committee of
                                      Unsecured Creditors for an Order Under Bankruptcy Rule 2004 and



1     The debtor entities in these chapter 11 cases, along with the last four digits of each Debtor entity’s federal tax
      identification number, are: Dura Automotive Systems Cable Operations, LLC (7052); Dura Automotive Systems,
      LLC (8111); Dura Fremont L.L.C. (1252); Dura G.P. (8092); Dura Mexico Holdings, LLC (4188); Dura
      Operating, LLC (2304); and NAMP, LLC (3693). Dura Automotive Systems, LLC’s service address is: 1780
      Pond Run, Auburn Hills, Michigan 48326.
2     Amended items appear in bold.
3     Please note that the hearing is before the Honorable Karen B. Owens in the United States Bankruptcy Court for
      the District of Delaware, 824 Market Street, 5th Floor, Courtroom No. 6, Wilmington, Delaware 19801. Any
      person who wishes to appear telephonically must contact COURTCALL, LLC at 866-582-6878 no later than
      12:00 p.m. (ET) one business day prior to the hearing. Chambers must be contacted regarding any late requests
      for telephonic appearances.



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                                   Local Bankruptcy Rule 2004-1 Directing the Production of
                                   Documents by the Debtors [Filing Date: 12/19/19; Docket No. 449].
                 Related Documents:

                           A.      Order Shortening Notice Regarding Motion of the Official
                                   Committee of Unsecured Creditors for an Order Directing the
                                   Production of Documents by the Debtors [Date Entered: 12/16/19;
                                   Docket No. 435].

                           B.      Notice of Motion of the Official Committee of Unsecured Creditors
                                   for an Order Under Bankruptcy Rule 2004 and Local Bankruptcy
                                   Rule 2004-1 Directing the Production of Documents by the Debtors
                                   [Date Filed: 12/16/19; Docket No. 436].

                           C.      Certification of Counsel Regarding Agreed Order Extending Sale,
                                   Plan and Challenge Timelines [Date Filed: 12/31/19; Docket No.
                                   501].

                           D.      Order (Agreed) Extending Sale, Plan and Challenge Timelines
                                   (With Revisions Made by the Court) [Date Entered: 1/2/20; Docket
                                   No. 514].

                 Status:        By agreement of the parties, this matter is adjourned to the next omnibus
                                hearing on March 2, 2020.

     II.      CONTESTED MATTERS

2.         Motion to Extend Challenge Period (Zohar Lenders). Zohar Lenders’ Motion for Entry
           of an Order Extending the Challenge Period and Granting Related Relief [Date Filed:
           12/31/19; Docket No. 503].

                 Response Deadline:        January 14, 2020 at 4:00 p.m. (ET)

                 Responses Received:

                           A.      Debtor’s Limited Objection and Reservation of Rights to the Zohar
                                   Lenders’ Motion for Entry of an Order Extending the Challenge
                                   Period and Granting Related Relief [Date Filed: 1/14/20; Docket
                                   No. 565].

                           B.      Objection of Prepetition ABL Secured Parties to the Motion of the
                                   Zohar Lenders to Extend the Challenge Period and Grant Related
                                   Relief [Date Filed: 1/14/20; Docket No. 566].

                           C.      Zohar Lenders' Omnibus Reply in Support of Motion for Entry of
                                   an Order Extending the Challenge Period and Granting Related
                                   Relief [Date Filed: 2/06/2019; Docket No. 620].

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           Related Documents:

                     A.      Notice of Hearing Regarding Zohar Lenders' Motion for Entry of an
                             Order Extending the Challenge Period and Granting Related Relief
                             [Date Filed: 1/15/20; Docket No. 567].

                     B.      Motion for Leave to File Sur-Reply to the Zohar Lenders’
                             Omnibus Reply in Support of Motion for Entry of an Order
                             Extending the Challenge Period and Granting Related Relief
                             [Date Filed: 2/10/20; Docket No. 631].

           Status:        This matter is going forward.

3.   DIP Amendment Motion. Debtors’ Motion for Entry of an Order Authorizing the Debtors
     to Enter into the DIP Amendment [Date Filed: 1/28/20; Docket No. 592].

           Response Deadline: February 4, 2020 at 4:00 p.m. (ET), extended until February
           7, 2020 at 10:00 a.m. (ET) for the Official Committee of Unsecured Creditors, the
           Zohar Lenders, and the DIP Lenders.

           Responses Received:

                     A.      [SEALED]Limited Objection of Official Committee of Unsecured
                             Creditors to Debtors Motion for Entry of an Order Authorizing the
                             Debtors to Enter into the DIP Amendment [Date Filed: 2/7/20; D.I.
                             621]

                     B.      [SEALED] Statement Regarding Debtors' Motion for Entry of an
                             Order Authorizing the Debtors to Enter into the DIP Amendment
                             (related document(s)592) Filed by DIP Lenders [Date Filed: 2/7/20;
                             D.I. 622]

           Status:        This matter is not going forward. The Debtors have requested the
                          other parties’ consent to adjourn the motion and the motion will
                          either be withdrawn or consensually adjourned.

4.   Motion to Seal Objection. Motion of the Official Committee of Unsecured Creditors
     for Entry of an Order, Pursuant to Bankruptcy Code Section 107(b), Bankruptcy
     Rule 9018, and Local Rule 9018-1(d), Authorizing the Committee to File Under Seal
     the Limited Objection of Official Committee of Unsecured Creditors to Debtors’
     Motion for Entry of an Order Authorizing the Debtors to Enter into the DIP
     Amendment [D.I. 592] [Date Filed: 2/10/20; Docket No. 627].

           Response Deadline: At the Hearing.

           Responses Received:

                     A.      None to Date.

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                  Related Document:

                          A.       Zohar Lenders' Omnibus Reply in Support of Motion for Entry
                                   of an Order Extending the Challenge Period and Granting
                                   Related Relief [Date Filed: 2/06/2019; Docket No. 620].

                  Status:      This matter is going forward.

5.          Motion for Leave. Motion for Leave to File Sur-Reply to the Zohar Lenders’
            Omnibus Reply in Support of Motion for Entry of an Order Extending the Challenge
            Period and Granting Related Relief [Date Filed: 2/10/20; Docket No. 631].

                  Response Deadline: At the hearing.

                  Responses Received:

                          A.       None to Date.

                  Related Document:

                          A.       None.

                  Status:      This matter is going forward.

     III.      FEE APPLICATION MATTER4

6.          Bradley Final Fee Application. Final Fee Application of Bradley Arant Boult Cummings
            for Compensation for Services Rendered and Reimbursement of Expenses as Tennessee
            Counsel to the Debtors [Date Filed: 1/10/20; Docket No. 561].

                  Response Deadline:        January 31, 2020 at 4:00 p.m. (ET)

                  Responses Received:

                          A.       None.

                  Related Documents:

                          A.       Certificate of No Objection Regarding Final Fee Application of
                                   Bradley Arant Boult Cummings for Compensation for Services
                                   Rendered and Reimbursement of Expenses as Tennessee Counsel to
                                   the Debtors [Date Filed: 2/4/20; Docket No. 607].

                          B.       Proposed Form of Order.


4 Please be advised that the fee application binder regarding Final Fee Application was submitted to Bankruptcy Court
Chambers on February 4, 2020.


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            Status:   A certificate of no objection has been filed with respect to this matter.
                      No hearing is necessary unless preferred by the Court.



Dated: February 11, 2020             BAYARD, P.A.
       Wilmington, Delaware
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